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                  UNITED STATES BANKRUPTCY COURT
                      SOUTHERN DISTRICT OF TEXAS
                             MCALLEN DIVISION
IN RE:                              §
                                    §
JOSE TREVINO, SR. and               §     BANKRUPTCY CASE NO. 10-70594
TERESA TREVINO                      §
                                    §     CHAPTER 13
                                    §
DEBTORS                             §
                                    §
JOSE TREVINO and                    §
TERESA TREVINO,                     §
                                    §
PLAINTIFFS,                         §
                                    §
v.                                  §     ADVERSARY NO. 13-07031
                                    §
1) CALIBER HOME LOANS, INC. and §
2) U.S. BANK TRUST, N.A. as Trustee §
   for LSF8 MASTER                  §
   PARTICIPATION TRUST              §
                                    §
DEFENDANTS.                         §


 JOINT STIPULATION REGARDING USE OF EXPERT REPORTS IN LIEU OF LIVE
        TESTIMONY AT HEARING ON PLAINTIFFS’ FEE APPLICATION

       Come now Jose and Teresa Trevino, Plaintiffs, and Caliber Home Loans, Inc. and U.S.

Bank Trust, N.A., as Trustee for LSF8 Master Participation Trust, Defendants (collectively, the

“Parties”), and stipulate as follows:

       The Parties to the captioned adversary proceeding stipulate that the following rules shall

govern the use of the expert reports of Michael Lynn and John Rao at the final hearing on the

merits (the “Hearing”) on the Application of Plaintiffs’ Counsel for Allowance of Compensation

and Reimbursement of Expenses filed at Docket No. 374 and any supplemental fee application

(collectively, the “Fee Application”):
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       The Parties agree that the expert reports of John Rao and Michael Lynn shall be admitted

in lieu of live testimony from the experts at the Hearing. The experts will not be available, via

subpoena or otherwise, for cross-examination at the Hearing as to their respective reports.

       The Parties agree that they will not attempt to introduce or seek admission of any other

expert reports regarding Plaintiffs’ attorneys’ fees and expenses at the Hearing other than the

expert reports of John Rao and Michael Lynn identified herein.

                                             Respectfully submitted,

                                             KELLETT & BARTHOLOW PLLC

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                                             Counsel for Plaintiffs

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                                            Home Loans Inc. and U.S. Bank



                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was served via the
Court’s ECF electronic filing system on the persons listed below on November 23, 2021.

                                                    /s/ Caitlyn N. Wells
                                                    Caitlyn N. Wells

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